Case 2:22-cr-00262-MCA Document 223 Filed 12/13/23 Page 1 of 2 PagelD: 281

PROB [2A
(6/21)
United States District Court
for
District of New Jersey
Report on Individual Under Supervision
Name of Individual Under Supervision: Achiel Morgan — Cr,; 22-00262-001

PACTS #: 7156331

Name of Sentencing Judicial Officer: THE HONORABLE MADELINE COX ARLEO
UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 05/17/2023

Original Offense: Count One: Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349 and 18 U.S.C. §
1344, a Class B Felony

Original Sentence: 88 Days imprisonment, 3 years supervised release

Special Conditions: Drug Testing and Treatment, Gang/Criminal Associations Prohibition, Financial
Disclosure, Mental Health Treatment, New Debt Restrictions & Motor Vehicle Compliance

Type of Supervision: Supervised Release Date Supervision Commenced: 5/17/2023

NONCOMPLIANCE SUMMARY
The individual under supervision has not complied with the following condition(s) of supervision:

Violation Number Nature of Noncompliance

1 The individual under supervision has violated the special condition which states
‘The restitution is due immediately and shall be paid in monthly
installments of no less than $206, to commence 30 days after the date of this
judgement.’

To date, Morgan has paid $20.00, leaving a special assessment balance of
$80.00 and a restitution balance of $52, 601,21,

U.S. Probation Officer Action:

Morgan is supervised by the U.S. Probation Office in Eastern District of New York. A review of
Morgan’s compliance with his financial obligations revealed he made one payment of $20.00 towards his
special assessment fee as of December 11, 2023. To date, Morgan has not made any payments towards his
restitution. Morgan has been instructed on numerous occasions to submit a payment towards these
balances, On each occasion Morgan promised to do so but failed to comply, He has expressed he was
experiencing difficulty meeting his financial obligations due to childcare and custody issues. On
November 27, 2023, Morgan was verbally reprimanded for his lack of payments, and his reporting
requirements have been increased.

Case 2:22-cr-00262-MCA Document 223 Filed 12/13/23 Page 2 of 2 PagelD: 282

Prob [2A — page 2
Achiel Morgan

At this time, we are respectfully recommending no action be taken for the non-compliance noted above
and that Transfer of Jurisdiction be initiated. Please find a copy of the Probation Form 22, Transfer of
Jurisdiction, for Your Honor’s signature,

Respectfully submitted,

SUSAN M. SMALLEY, Chief
U.S. Probation Officer

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By: KLARISSA L. PERR'Y
U.S. Probation Officer

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APPROVED:

4 hod

[od hak) 12/13/23
PATRICK HATTERSLEY Date

Supervising U.S, Probation Officer

Plegse check a box below to indicate the Court’s direction regarding action to be taken in this case:

4,

IY No Formal Court Action to be Taken at This Time (as recommended by the Probation Office)
F' Submit a Request for Modifying the Conditions or Term of Supervision

FP Submit a Request for Warrant or Summons

> Other o
a“

Signature of Judicial Officer

Be (U-7%

Date

